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                                                              JAMES N . NQUEN, CLERK
                      IN THE UNITE D S TATES DI S TRICT COURT Bp ~~vutr c1 r k
                     FOR THE NORTHERN DISTRI CT O F GEORGIA
                                       ATLANTA D I VIS ION

RYNE MCBRIDE and RORY JONES,

                          Plaintiff,
           vs .                                        CIVIL ACTION FILE
                                                       NO. :
GAMESTOP, INC .,
                                                               0 . CV - 2376
                          Defendant.


                    PETITION FOR REMO VAL T O THE
                UNITE D STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

           Pursuant to 28 U.S.C. § 1331, 1367, 1441, 1446, and other applicable law,

Defendant Gamestop, Inc . ("Gamestop") hereby gives notice of the removal of this

action from the Superior Court of Fulton County, State of Georgia, where it is now

pending, to the United States District Court for the Northern District of Georgia,

Atlanta Division . As grounds for this removal, Gamestop shows as follows :

                                                1.

           This action, entitled Ryne McBride and Rory Jones v . Gamestop, Inc., Civil

Action File No . 2010CV 187402 ("Superior Court"), was commenced against

Gamestop in the Superior Court of Fulton County, State of Georgia, on June 24,

2010 when Plaintiffs Ryne McBride ("McBride") and Rory Jones ("Jones")



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(collectively "Plaintiffs") filed a Complaint under the Fair Labor Standards Act, 29

U.S .C . § 201 et seq. ("Superior Court Action") . True and correct copies of all the

process and pleadings that have been filed in the Superior Court action are attached

hereto as Exhibit "A."

                                                 2.

             Plaintiffs served their initial pleading setting forth specific claims for relief

on or about June 29, 2010 .

                                                 3.

             Gamestop files this Notice of Removal within thirty (30) days after receiving

notice of the Superior Court Action, by service or otherwise.

                                                 4.

             Pursuant to 28 U .S .C . § 1331, this case is removable by reason of federal

question jurisdiction because it involves claims brought pursuant to the federal Fair

Labor Standards Act .

                                                 5.

             Pursuant to 28 U.S .C . § 1446(d), a copy of this Notice or Removal is being

filed with the Clerk of the Superior Court and is being served on Plaintiffs'

Counsel of record.




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         WHEREFORE, Gamestop, Inc . prays that this Petition for Removal be filed

and that said action be removed to and proceed in this Court and that no further

proceedings be had in the case currently pending before the Superior Court of

Fulton County, Georgia .

         Respectfully submitted this 29th day of July, 2010 .

                                            HAWKINS PARNELL THACKSTON
                                            & YOUNG LLP


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